                      UNITED STATES BANKRUPTCY COURT
                          DISTRICT OF NEW MEXICO

In Re: GandyDancer, LLC,                                      Case No.
       a New Mexico Limited Liability Company,
       Debtor.

      AFFIDAVIT OF DON F. HARRIS IN SUPPORT OF MOTION TO EMPLOY
           ATTORNEY AND 2016 STATEMENT OF COMPENSATION

STATE OF NEW MEXICO               )
                                  )ss.
COUNTY OF BERNALILLO              )

      I, DON F. HARRIS, being first duly sworn, depose and state:

      1.     I am over the age of eighteen (18) years and I am competent to testify to the

matter set forth herein. This affidavit is meant to comply with the requirements of Fed.

R. Bankr. P. 2014 and 2016.

      2.     I am of good moral and professional character and am a current member in

good standing of the New Mexico Bar, and authorized to practice before the United States

Bankruptcy Court for the District of New Mexico, United States District Court for the

District of New Mexico.

      3.     I am an attorney in the law firm of NM Financial & Family Law, the firm

which the Debtor seeks to employ as counsel by its Motion to Employ.

      4.     To the best of the my knowledge, information and belief, after making

reasonable inquiry, the firm of NM Financial & Family Law, has no connections with the




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Debtor, creditors of the Debtor, any other party in interest, or their respective attorneys

or accountants.

       5.      The firm has received a retainer of $20,000.00, from the Debtor.

       6.      The firm of NM Financial & Family Law, its shareholders, associate

attorneys, of counsel attorneys, and its contract attorneys do not hold any interest adverse

to the debtors or the debtors’ estate.

       7.      The firm of NM Financial & Family Law, and its shareholders and its

affiliates do not hold, or represent, or have any connection with the United States Trustee

or any person employed in the office of the United States Trustee.

       8.      The firm of NM Financial & Family Law, its shareholders, and its associates

have not shared or agreed to share compensation with any other entity.

       9.      In general, the professional services the undersigned firms intend to

provide are:

               a.    To represent and to render legal advice to Debtor regarding all

       aspects of this bankruptcy case, including, without limitation, claims objections,

       adversary proceedings, plan confirmation and all hearings before the court.

               b.    To prepare on behalf of Debtor necessary petitions, answers,

       motions, applications, orders, reports and other legal papers, including Debtor’s

       plan of reorganization and disclosure statement;




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